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                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                                          March 05, 2025
                            FOR THE SOUTHERN DISTRICT OF TEXAS                                         Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

IN RE:                                                     §
                                                           §        CASE NO: 25-31244
ON TAVENOR LANE, LLC,                                      §
                                                           §
            Debtor.                                        §
                                                           §
                                                           §        CHAPTER 11

                                            SHOW CAUSE ORDER

           The debtor filed this Chapter 11 case on March 4, 2025. In federal courts, it is well
established that a corporation cannot proceed pro se and must be represented by counsel. The
corporate debtor in this case is not currently represented by an attorney.
           THEREFORE, IT IS ORDERED that an agent for On Tavenor Lane, LLC appear and
show cause why this case should not be dismissed due to the corporate debtor’s failure to be
represented by an attorney. Donovan v. Road Rangers Country Junction, Inc., 736 F.2d 1004, 1005
(5th Cir. 1982) (noting that while an individual has the right to proceed pro se, business entities
such as limited liability companies - as fictional persons- have no such rights, and must be
represented by licensed counsel).
           IT IS FURTHER ORDERED that a hearing to address the terms of this show cause order
shall be held at 11:00 a.m. on March 18, 2025, in Courtroom 403, 515 Rusk Street, Houston, Texas.
Parties should reference the court’s website1 for remote connection instructions.
            SIGNED 03/05/2025


                                                               ___________________________________
                                                               Jeffrey Norman
                                                               United States Bankruptcy Judge


1
    United States Bankruptcy Judge Jeffrey P. Norman | Southern District of Texas (uscourts.gov)




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